          Case 2:17-cr-00180-JAD-NJK          Document 221        Filed 11/15/17     Page 1 of 1



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 8                                UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                            )
11                                                        )       Case No. 2:17-cr-00180-JAD-PAL
                           Plaintiff,                     )
12                                                        )       ORDER GRANTING REQUEST TO
     v.                                                   )       APPEAR TELEPHONICALLY
13                                                        )
     CASEY WALTERS, JR.,                                  )
14                                                        )
                           Defendant.                     )
15                                                        )
16           On November 13, 2017, the Court set a hearing on Defendant’s motion to modify conditions of
17   release on November 16, 2017, at 10:00 a.m. Docket No. 217. The Court allowed Defendant to request
18   a telephonic appearance at the hearing. Id. Defendant has now done so. Docket No. 218-1.
19           The Court GRANTS Defendant’s request to appear telephonically at the hearing. Defendant
20   shall call the Court conference line at 877-402-9757 at least five minutes prior to the hearing. The
21   conference code is 6791056. In order to ensure a clear recording of the hearing, the call must be made
22   using a land line phone. Cell phone calls, as well as the use of a speaker phone, are prohibited.
23           IT IS SO ORDERED.
24           DATED: November 15, 2017.
25
                                                  ______________________________________
26                                                NANCY J. KOPPE
                                                  United States Magistrate Judge
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